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                            United States District Court
                            Eastern District of Michigan
                                 Southern Division

United States of America,
                                                   Case No. 18-cr-20255
             Plaintiff,                            Honorable Victoria A. Roberts

v.

Gary Tenaglia,

          Defendant.
___________________________________________/

         NOTICE OF CHANGE OF ASSISTANT U.S. ATTORNEY

To:   Attorney Admission Clerk and All Other Parties

Please add the following Assistant U.S. Attorney as co-counsel of record on behalf
of the United States of America for the above-captioned case:

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                                             Respectfully submitted,

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